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 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     JAMES RUTHERFORD, an
12                                            Complaint For Damages And
13   individual,                              Injunctive Relief For:

14                     Plaintiff,              1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
     v.                                           ACT OF 1990, 42 U.S.C. §12181 et
16                                                seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
     HIGHLAND AVENUE PLAZA,
                                                  325).
18   LLC, a California limited liability
     company; and DOES 1-10, inclusive,
19                                             2. VIOLATIONS OF THE UNRUH
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20                    Defendants.                 CIVIL CODE § 51 et seq.
21

22
           Plaintiff, JAMES RUTHERFORD, an individual, (“Plaintiff”), complains of
23
     Defendants HIGHLAND AVENUE PLAZA, LLC, a California limited liability
24
     company; and Does 1-10 (“Defendants”) and alleges as follows:
25
                                            PARTIES
26
           1.      Plaintiff is substantially limited in performing one or more major life
27
     activities, including but not limited to: walking, standing, ambulating, sitting; in
28
     addition to twisting, turning and grasping objects. As a result of these disabilities,
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                                           COMPLAINT
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 1   Plaintiff relies upon mobility devices, including at times a wheelchair, to ambulate.
 2   With such disabilities, Plaintiff qualifies as a member of a protected class under the
 3   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 4   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 5   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 6   Plaintiff’s visits to Defendants' facility and prior to instituting this action, Plaintiff
 7   suffered from a “qualified disability” under the ADA, including those set forth in
 8   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
 9          2.     Plaintiff is informed and believes and thereon alleges that Defendant
10   HIGHLAND AVENUE PLAZA, LLC, a California limited liability company,
11   owned the property located at 4160 E Highland Ave., Highland, CA 92346
12   (“Property”) on or around December 09, 2019.
13          1.     Plaintiff is informed and believes and thereon alleges that HIGHLAND
14   AVENUE PLAZA, LLC, a California limited liability company, owns the Property
15   currently.
16          2.     Plaintiff does not know the true name of Defendants, its business
17   capacity, its ownership connection to the Property serving Papa Johns (“Business”),
18   or its relative responsibilities in causing the access violations herein complained of.
19   Plaintiff is informed and believes that each of the Defendants herein, including Does
20   1 through 10, inclusive, is responsible in some capacity for the events herein alleged,
21   or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
22   amend when the true names, capacities, connections, and responsibilities of the
23   Defendants and Does 1 through 10, inclusive, are ascertained.
24                               JURISDICTION AND VENUE
25          3.     This Court has subject matter jurisdiction over this action pursuant
26   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
27          4.     This court has supplemental jurisdiction over Plaintiff’s non-federal
28   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
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                                             COMPLAINT
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 1   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 2   federal ADA claims in that they have the same nucleus of operative facts and
 3   arising out of the same transactions, they form part of the same case or controversy
 4   under Article III of the United States Constitution.
 5          5.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 6   real property which is the subject of this action is located in this district and because
 7   Plaintiff's causes of action arose in this district.
 8                                FACTUAL ALLEGATIONS
 9          6.     Plaintiff went to the Business on or about December 09, 2019 for the
10   dual purpose of purchasing menu items and to confirm that this public place of
11   accommodation is accessible to persons with disabilities within the meaning federal
12   and state law.
13          7.     The Business is a facility open to the public, a place of public
14   accommodation, and a business establishment.
15          8.     Parking spaces are one of the facilities, privileges, and advantages
16   reserved by Defendants to persons at the Property serving the Business.
17          9.     Unfortunately, although parking spaces were one of the facilities
18   reserved for patrons, there were no designated parking spaces available for persons
19   with disabilities that complied with the 2010 Americans with Disabilities Act
20   Accessibility Guidelines (“ADAAG”) on December 09, 2019.
21          10.    At that time, instead of having architectural barrier free facilities for
22   patrons with disabilities, Defendants have: a portion of the walkway exceeds 6.4%
23   which requires handrails (handrails shall be provided on both sides of stairs and
24   ramps per Section 505.2); accessible parking spaces are not located on the shortest
25   accessible route to the entrance per Section 208.3.1 (parking spaces complying with
26   502 that serve a particular building or facility shall be located on the shortest
27   accessible route from parking to an entrance complying with 206.4.Where parking
28   serves more than one accessible entrance, parking spaces complying with 502 shall
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                                             COMPLAINT
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 1   be dispersed and located on the shortest accessible route to the accessible entrances.
 2   Here, two accessible parking spaces are clustered together approximately 150 feet
 3   from the entrance to this facility though numerous parking spaces are available much
 4   closer to the entrance of the store); and, no accessible routes connecting the parking
 5   to the main entrance or elements within the facility as required by Section 206.2.2
 6   (which requires that at least one accessible route shall connect accessible buildings,
 7   accessible facilities, accessible elements, and accessible spaces that are on the same
 8   site, and 206.1 requiring access to the site arrival point (main entrance) from the
 9   public street).
10          11.    Subject to the reservation of rights to assert further violations of law
11   after a site inspection found infra, Plaintiff asserts there are additional ADA
12   violations which affect him personally.
13          12.    Plaintiff is informed and believes and thereon alleges Defendants had
14   no policy or plan in place to make sure that there was compliant accessible parking
15   reserved for persons with disabilities prior to December 09, 2019.
16          13.    Plaintiff is informed and believes and thereon alleges Defendants have
17   no policy or plan in place to make sure that the designated disabled parking for
18   persons with disabilities comport with the ADAAG.
19          14.    Plaintiff personally encountered these barriers. The presence of these
20   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
21   conditions at public place of accommodation and invades legally cognizable
22   interests created under the ADA.
23          15.    The conditions identified supra in paragraph 12 are necessarily related
24   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
25   the major life activities of walking, standing, ambulating, sitting, in addition to
26   twisting, turning and grasping objects; Plaintiff is the holder of a disabled parking
27   placard; and because the enumerated conditions relate to the use of the accessible
28   parking, relate to the slope and condition of the accessible parking and accessible
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                                            COMPLAINT
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 1   route to the accessible entrance, and relate to the proximity of the accessible parking
 2   to the accessible entrance.
 3          16.      As an individual with a mobility disability who at times relies upon a
 4   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
 5   accommodations have architectural barriers that impede full accessibility to those
 6   accommodations by individuals with mobility impairments.
 7          17.      Plaintiff is being deterred from patronizing the Business and its
 8   accommodations on particular occasions, but intends to return to the Business for the
 9   dual purpose of availing himself of the goods and services offered to the public and
10   to ensure that the Business ceases evading its responsibilities under federal and state
11   law.
12          18.      Upon being informed that the public place of accommodation has
13   become fully and equally accessible, he will return within 45 days as a “tester” for
14   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
15   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
16          19.      As a result of his difficulty experienced because of the inaccessible
17   condition of the facilities of the Business, Plaintiff was denied full and equal access
18   to the Business and Property.
19          20.      The Defendants have failed to maintain in working and useable
20   conditions those features required to provide ready access to persons with
21   disabilities.
22          21.      The violations identified above are easily removed without much
23   difficulty or expense. They are the types of barriers identified by the Department of
24   Justice as presumably readily achievable to remove and, in fact, these barriers are
25   readily achievable to remove. Moreover, there are numerous alternative
26   accommodations that could be made to provide a greater level of access if complete
27   removal were not achievable.
28          22.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
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                                             COMPLAINT
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 1   alleges, on information and belief, that there are other violations and barriers in the
 2   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
 3   notice regarding the scope of this lawsuit, once he conducts a site inspection.
 4   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
 5   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
 6   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
 7   have all barriers that relate to his disability removed regardless of whether he
 8   personally encountered them).
 9         23.    Without injunctive relief, Plaintiff will continue to be unable to fully
10   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
11                               FIRST CAUSE OF ACTION
12   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
13     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
14                                        (P.L. 110-325)
15         24.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
16   above and each and every other paragraph in this Complaint necessary or helpful to
17   state this cause of action as though fully set forth herein.
18         25.    Under the ADA, it is an act of discrimination to fail to ensure that the
19   privileges, advantages, accommodations, facilities, goods, and services of any place
20   of public accommodation are offered on a full and equal basis by anyone who owns,
21   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
22   Discrimination is defined, inter alia, as follows:
23                a.     A failure to make reasonable modifications in policies, practices,
24                       or procedures, when such modifications are necessary to afford
25                       goods, services, facilities, privileges, advantages, or
26                       accommodations to individuals with disabilities, unless the
27                       accommodation would work a fundamental alteration of those
28                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
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                                            COMPLAINT
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 1                b.     A failure to remove architectural barriers where such removal is
 2                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 3                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 4                       Appendix "D".
 5                c.     A failure to make alterations in such a manner that, to the
 6                       maximum extent feasible, the altered portions of the facility are
 7                       readily accessible to and usable by individuals with disabilities,
 8                       including individuals who use wheelchairs, or to ensure that, to
 9                       the maximum extent feasible, the path of travel to the altered area
10                       and the bathrooms, telephones, and drinking fountains serving
11                       the area, are readily accessible to and usable by individuals with
12                       disabilities. 42 U.S.C. § 12183(a)(2).
13         26.    Any business that provides parking spaces must provide accessible
14   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
15   shall be at the same level as the parking spaces they serve. Changes in level are not
16   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
17   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
18   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
19   designated disabled parking space is a violation of the law and excess slope angle in
20   the access pathway is a violation of the law.
21         27.    A public accommodation must maintain in operable working condition
22   those features of its facilities and equipment that are required to be readily accessible
23   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
24         28.    Here, the failure to ensure that accessible facilities were available and
25   ready to be used by Plaintiff is a violation of law.
26         29.    Given its location and options, Plaintiff will continue to desire to
27   patronize the Business but he has been and will continue to be discriminated against
28   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
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                                           COMPLAINT
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 1   the barriers.
 2                               SECOND CAUSE OF ACTION
 3       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
 4         30.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 5   above and each and every other paragraph in this Complaint necessary or helpful to
 6   state this cause of action as though fully set forth herein.
 7         31.       California Civil Code § 51 et seq. guarantees equal access for people
 8   with disabilities to the accommodations, advantages, facilities, privileges, and
 9   services of all business establishments of any kind whatsoever. Defendants are
10   systematically violating the UCRA, Civil Code § 51 et seq.
11         32.       Because Defendants violate Plaintiff’s rights under the ADA,
12   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
13   52(a).) These violations are ongoing.
14         33.       Plaintiff is informed and believes and thereon alleges that Defendants’
15   actions constitute discrimination against Plaintiff on the basis of a disability, in
16   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
17   previously put on actual or constructive notice that the Business is inaccessible to
18   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
19   inaccessible form, and Defendants have failed to take actions to correct these
20   barriers.
21                                            PRAYER
22   WHEREFORE, Plaintiff prays that this court award damages provide relief as
23   follows:
24         1.        A preliminary and permanent injunction enjoining Defendants from
25   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
26   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
27   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
28   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
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                                             COMPLAINT
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 1   under the Disabled Persons Act (Cal. C.C. §54) at all.
 2         2.     An award of actual damages and statutory damages of not less than
 3   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
 4         3.     An additional award of $4,000.00 as deterrence damages for each
 5   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
 6   LEXIS 150740 (USDC Cal, E.D. 2016); and,
 7         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
 8   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
 9

10                               DEMAND FOR JURY TRIAL
11         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
12   raised in this Complaint.
13

14   Dated: March 13, 2020            MANNING LAW, APC
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16                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
17                                       Attorney for Plaintiff
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                                           COMPLAINT
